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     Proposed Attorneys for Debtors
14   and Debtors in Possession
15
                               UNITED STATES BANKRUPTCY COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17
                                         SAN FRANCISCO DIVISION
18
19
       In re:                                       Case Nos. 19 -_____ (___)
20                                                            19 -_____ (___)
       PG&E CORPORATION,
21                                                  Chapter 11
                                   Debtor.
22                                                  CORPORATE OWNERSHIP
       Tax I.D. No. XX-XXXXXXX                      STATEMENT PURSUANT TO FED. R.
23                                                  BANKR. P. 1007 AND 7007.1
24
       In re:                                       Date:
25                                                  Time:
       PACIFIC GAS AND ELECTRIC
       COMPANY,                                     Place:
26

27                                 Debtor.

28     Tax I.D. No. XX-XXXXXXX

   DEBTORS
 Case:     ’ CORPORATE
       19-30088   Doc# O
                       4 WNERSHIP  STMT
                           Filed: 01/29/19       Entered: 01/29/19 00:24:29     Page 1 of 3
                             1
                                         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
                             2
                                  PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as
                             3
                                  debtors and debtors in possession (collectively, “PG&E” or the “Debtors”) in the above-captioned
                             4
                                  chapter 11 cases, respectfully represent that PG&E Corp., a publicly traded corporation organized
                             5
                                  under the laws of the State of California, owns one-hundred percent (100%) of the common equity
                             6
                                  interests of the Utility, which represents approximately 96% of the Utility’s total outstanding voting
                             7
                                  securities. As of the date hereof, the Debtors are not aware of any corporation that directly or
                             8
                                  indirectly owns ten percent (10%) or more of any class of PG&E Corp.’s equity interests.
                             9
                                  Dated: January 29, 2019
                             10
                                                                                      WEIL, GOTSHAL & MANGES LLP
                             11
                                                                                      KELLER & BENVENUTTI LLP
                             12
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13                                                       By: /s/ Tobias S. Keller
      767 Fifth Avenue




                             14
                                                                                      Proposed Attorneys for Debtors and Debtors in
                             15                                                       Possession
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                                DEBTORS
                              Case:     ’ CORPORATE
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